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 4
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     WINTON XIONG
 6
 7
 8                                  UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         )       CASE NO. 1:12-CR-00240-LJO-SKO
                                                       )
12                           Plaintiff,                )
                                                       )
13   vs.                                               )
                                                       )
14   WINTON XIONG,                                     )       ORDER DIRECTING
                                                       )       CLERK TO RECONVEY PASSPORT
15                           Defendant.                )
                                                       )
16                                                     )
17            Defendant, by and through undersigned counsel, hereby moves the court for an order
18   authorizing the Clerk of the United States District Court for the Eastern District of California to
19   reconvey Winton Xiong’s passport, receipt #491101980, to Carol Moses, Attorney for Mr.
20   Xiong.
21                                                             Respectfully submitted,
22
23   Dated: April 25, 2013                                     /s/ Carol Ann Moses
                                                               CAROL ANN MOSES
24                                                             Attorney for Defendant,
                                                               WINTON XIONG
25
26   IT IS SO ORDERED.
27   Dated: April 25, 2013                                     /s/ Lawrence J. O’Neill________________
                                                               LAWRENCE J. O’NEILL
28                                                             UNITED STATES DISTRICT JUDGE


                                                           1
                                 [PROPOSED] ORDER DIRECTING CLERK TO RECONVEY PASSPORT
